                                                       Entered on Docket
                                                       November 22, 2016
                                                       EDWARD J. EMMONS, CLERK
                                                       U.S. BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA

                                                  Signed and Filed: November 22, 2016
 1   DONNA S. TAMANAHA (WI# 1013199)
     Assistant United States Trustee
 2   LYNETTE C. KELLY (SBN #120799)
     Trial Attorney
 3   United States Department of Justice
     Office of the U.S. Trustee
 4   450 Golden Gate Ave, Rm 05-0153
     San Francisco, CA 94102                       ________________________________________
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     Facsimile: (415) 705-3367                     U.S. Bankruptcy Judge
 6   Email: lynette.c.kelly@usdoj.gov
 7   Attorneys for TRACY HOPE DAVIS
     United States Trustee for Region 17
 8
                              UNITED STATES BANKRUPTCY COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
10

11
                                                     ) Case No. 16-30063 DM
     In re                                           )
12
                                                     ) Chapter 11
13   YELLOW CAB COOPERATIVE, INC.                    )
                                                     )
14                          Debtor.                  )
                                                     )
15
                                                     )

16             ORDER APPROVING APPOINTMENT OF CHAPTER 11 TRUSTEE
17
             Upon the application of the United States Trustee for Region 17, and it appearing that
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     Randy Sugarman, a disinterested person as set forth in 11 U.S.C. § 101(14), has been selected as
19
     a chapter 11 trustee in this case by the United States Trustee, and after due deliberation and
20
     sufficient cause appearing,
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22
             IT IS HEREBY ORDERED that Randy Sugarman selection of to serve as chapter 11

23   trustee in this case is APPROVED under 11 U.S.C. § 1104; and

24           IT IS FURTHER ORDERED that Randy Sugarman the chapter 11 trustee shall have all

25   the powers of a trustee under 11 U.S.C. § 1106(a).

26
                                        ****END OF ORDER****
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     ORDER APPROVING APPOINTMENT OF CHAPTER 11 TRUSTEE: 16-30063                              -1-
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 1
                                      COURT SERVICE LIST
 2

 3   Yellow Cab Cooperative, Inc.
     c/o Pamela Martinez
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     1200 Mississippi St.
 5   San Francisco, CA 94107

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     ORDER APPROVING APPOINTMENT OF CHAPTER 11 TRUSTEE: 16-30063                   -2-
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